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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT ROSS,                                     Case No. 19-cv-06669-JST (DMR)
                                   8                    Plaintiff,
                                                                                          ORDER ON JOINT DISCOVERY
                                   9             v.                                       LETTER
                                  10     AT&T MOBILITY, LLC, et al.,                      Re: Dkt. No. 89
                                  11                    Defendants.

                                  12          Plaintiff Robert Ross alleges that Defendants AT&T Mobility, LLC (“AT&T”), One Touch
Northern District of California
 United States District Court




                                  13   Direct LLC, and One Touch Direct-San Antonio LLC negligently assisted hackers in completing a

                                  14   “SIM swap” of Ross’s phone service, allowing the hackers to access the personal data stored on

                                  15   Ross’s phone and gain control over Ross’s financial accounts. See Docket No. 71. Ross now moves

                                  16   to compel discovery responses and document production from AT&T. [Docket No. 89 (“JDL”).]

                                  17          Many of the issues raised in the JDL are either premature or reflect inadequate meet and

                                  18   confer efforts. For example, Ross seeks the dates that the hacker used the same phone or SIM card

                                  19   to conduct unauthorized SIM swaps of other AT&T customers. Ross asserts that AT&T has

                                  20   “steadfastly refused” to produce the requested information while AT&T represents that Ross raised

                                  21   the date issue recently and AT&T had not—as of the filing of the letter—yet completed its

                                  22   investigation of the issue. Similarly, Ross requests custodial documents relating to unauthorized

                                  23   SIM swaps. JDL at 2-3. Ross argues that A&T is “plainly stonewalling” on this issue while AT&T

                                  24   represents that it has and continues to produce responsive documents. The parties clearly need to

                                  25   communicate more to either resolve these disputes or to queue them up properly for adjudication.

                                  26   In another example, the parties disagree about the appropriate timeframe for discovery. Ross seeks

                                  27   certain documents and information dating back to 2013 while AT&T argues that all relevant

                                  28   information dates January 1, 2018 or later. See JDL at 2. The joint letter does not describe either
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                                   1   parties’ final proposed compromise for this issue, in violation of Judge Ryu’s standing order,

                                   2   paragraph 14.

                                   3          For the reasons described above, the joint discovery letter is denied without prejudice. The

                                   4   parties shall meet and confer and attempt to narrow or resolve these issues without court

                                   5   intervention. The parties shall make best efforts to make reasonable compromises and timely

                                   6   respond to discovery requests and produce documents. The parties must file any further joint

                                   7   discovery letter on the current disputes by May 17, 2021. The parties shall set forward their final

                                   8   proposed compromise for each issue. The letter shall not incorporate any prior filings by reference.

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                                  11          IT IS SO ORDERED.

                                  12   Dated: April 26, 2021
Northern District of California
 United States District Court




                                  13                                                    ______________________________________
                                                                                                     Donna M. Ryu
                                  14                                                          United States Magistrate Judge
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